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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

  EXPRESS HOMEBUYERS USA, LLC,               )
  6564 Loisdale Ct., Suite 215               )
  Springfield, Virginia 22150,               )
                                             )
                                 Plaintiff,  )
                                             ) Civil Action No. ___________________
                       v.                    ) COMPLAINT
                                             )
  WBH MARKETING, INC.,                       ) Jury Trial Demanded
  2140 E. Southlake Blvd., Suite L615        )
  Southlake, Texas 76092-6516,               )
                                             )
  AND                                        )
                                             )
  JEREMY BRANDT,                             )
  2140 E. Southlake Blvd., Suite L615        )
  Southlake, Texas 76092-6516.               )
                                             )
                                 Defendants. )
                                             )
  _______________________________________ )


       Plaintiff Express Homebuyers USA, LLC (“Express Homebuyers” or “Plaintiff”), by and

through undersigned counsel, brings this Complaint against Defendants WBH Marketing, Inc.

(“WBH”) and Jeremy Brandt (“Brandt”) (collectively, “Defendants”) seeking: (1) cancellation of

U.S. Trademark Registration Nos. 3,149,336 and 3,235,523; (2) a declaratory judgment that the

purported marks disclosed therein are invalid and unenforceable and therefore not infringed by

Express Homebuyers; and, (3) a judgment for money damages caused by Defendants’ tortious

conduct. For its complaint, Express Homebuyers alleges as follows:

             PRELIMINARY STATEMENT AND NATURE OF THE ACTION

       1.      This case is about the common, ubiquitous, and generic phrase “we buy houses”—

a phrase that has been used in the real estate industry since the real estate industry first came into

existence.   There is nothing unique, special, or distinctive about a real estate company or

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professional saying, either in print or in online advertising, that they “buy houses.” Indeed,

thousands of real estate companies and professionals have used, and continue to use, this phrase

in describing what they do.

       2.      Defendants are quintessential trademark bullies. They claim to have a nationwide

grip on the generic phrase “we buy houses.”          This action arises out of the Defendants’

inappropriate, multi-State campaign of intimidation and harassment over the decades-long,

widespread use in the real estate industry of the generic phrase “we buy houses.” Defendants have

taken the head-snapping position that they, and they alone, are the only ones in the entire United

States that can use the phrase “we buy houses” in all forms of media—print, online, and

otherwise—related to real estate goods and services.

       3.      Yet, as alleged herein, and as the evidence will show, the Defendants never had

legitimate rights in their alleged trademark in the first place. That is because the Defendants

defrauded the U.S. Patent and Trademark Office and entered into a phony, collusive agreement

with a third party to supposedly obtain exclusive rights to the phrase “we buy houses.” At all

relevant times herein, Defendants were fully aware that they did not have legitimate or enforceable

federal trademark rights but they engaged in their wrongful conduct anyway.

       4.      Indeed, despite this knowledge, Defendants have, in effect, attempted (sometimes

successfully) to “shake down” dozens of real estate businesses across the United States. They

have done so with threats that are then followed by requests that the threatened business pay the

Defendants significant sums of money in exchange for the continued use of the generic and

ubiquitous phrase “we buy houses.”




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       5.      The Defendants brought their bullying tactics to the Commonwealth of Virginia in

2016. In July of that year, WBH embarked on an onslaught against Express Homebuyers’ use of

the phrase “we buy houses” to describe its direct home buying services online.

       6.      In particular, WBH filed numerous take-down complaints with YouTube.com,

alleging that approximately 91 of Express Homebuyers’ videos supposedly violated WBH’s rights

in its purported trademarks, WE BUY HOUSES and WEBUYHOUSES.COM (collectively “the

WE BUY HOUSES Marks” or “Marks”). YouTube removed all 91 videos based on WBH’s

assertions that it supposedly had federal trademark rights in the generic phrase “we buy houses”

that were broad enough to capture use of that phrase in online advertising. Defendants took these

actions for the improper and illegal purpose of extracting money from Plaintiff.

       7.      Express Homebuyers brings this action to stop, once and for all, Defendants’

bullying tactics. Plaintiff seeks cancellation of the registrations associated with the WE BUY

HOUSES Marks on the ground that they are void ab initio because they were procured by fraud

and/or improper assignment. In the alternative, the phrase “we buy houses” has been used for

many years by numerous businesses and professionals, rendering the Marks generic and

abandoned. Plaintiff Express Homebuyers also seeks a declaration that it did nothing wrong when

it used the “we buy houses” phrase in its online advertising, that the Marks are invalid, and

therefore have not been infringed by Express Homebuyers. Finally, and independent of its requests

for declaratory relief, Plaintiff seeks to recover money damages caused by the Defendants’ tortious

act of taking down almost one hundred of Plaintiff’s online advertisements.

                                           PARTIES

       8.      Plaintiff Express Homebuyers is a limited liability company organized under the

laws of the Commonwealth of Virginia with its principal place of business at 6564 Loisdale Court,

Suite 215, Springfield, Virginia 22150.


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       9.      Defendant WBH is a Texas corporation with its principal place of business at 2140

E. Southlake Blvd., Suite L-615, Southlake, Texas 76092-6516.

       10.     Defendant Brandt is a citizen and resident of Texas, with an address of 2140 E.

Southlake Blvd., Suite L-615, Southlake, Texas 76092-6516. Defendant Brandt is the founder and

CEO of WBH. At all times relevant herein, Defendant Brandt directed, ordered, or otherwise

substantially participated in all of WBH’s business activities related to wrongful conduct alleged

in this Complaint.

                                JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction over Express Homebuyers’ request for a

declaratory judgment pursuant to 28 U.S.C. §§ 1331, 2201, and 2202. This action arises under the

Lanham Act, 15 U.S.C. §§ 1051 et seq and the laws of the Commonwealth of Virginia, which are

all within the subject matter jurisdiction of this Court pursuant to 15 U.S.C. § 1121 and 28 U.S.C.

§§ 1332(a)(1), 1338(a), and 1367(a).

       12.     WBH’s infringement allegations against Express Homebuyers, as expressed in its

take-down letters to YouTube.com and the resulting removal of 91 of Express Homebuyers’ online

advertisements, gives rise to an actual and justiciable controversy between the parties as to the

invalidity and non-infringement of the WE BUY HOUSES Marks.                 WBH’s infringement

allegations and the resulting removal of Express Homebuyers’ online advertising poses actual and

imminent injury to Express Homebuyers that can only be redressed by judicial relief and is of

sufficient immediacy to warrant the issuance of a declaratory judgment. Absent cancellation of

the WE BUY HOUSES Marks and a declaration of invalidity and noninfringement, Express

Homebuyers will continue to suffer harm to its business.

       13.     Defendants are subject to personal jurisdiction in this District because the

Defendants transact business within the Commonwealth of Virginia; committed tortious and other


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wrongful acts within the Commonwealth; directed their conduct at, and specifically targeted,

Plaintiff in Virginia; and/or otherwise committed tortious and other wrongful acts outside of the

Commonwealth that caused harm within the Commonwealth. Defendant WBH regularly does or

solicits business, or engages in a persistent course of conduct, or derives substantial revenue from

goods used or consumed or services rendered, in the Commonwealth of Virginia.

       14.     At all times relevant herein, Defendant Brandt had direct, personal involvement in

the decisions and actions that are related to the damages incurred by Plaintiff Express Homebuyers

as a result of Defendant WBH’s wrongful conduct. At all times relevant herein, Defendant Brandt

controlled Defendant WBH and was the central figure in the wrongful acts alleged in this

Complaint.

       15.     Venue is proper under 28 U.S.C. § 1391 because: (1) a substantial part of the events

material to Plaintiff’s causes of action occurred in this District, (2) all Defendants are subject to

personal jurisdiction in this District at the time this action commenced, and (3) the Plaintiff

suffered harm in this District.

                             FACTS COMMON TO ALL COUNTS

       16.     Plaintiff Express Homebuyers has been engaged in the direct home buying industry

for more than thirteen years. Over the course of its existence, Express Homebuyers has purchased

and rehabilitated more than 2,000 homes. Because of its dedication to efficient, cost-effective,

and high quality services, Express Homebuyers has become a very prominent direct homebuyer in

the Maryland, Washington D.C., and Virginia regions, among others.

       17.     Since 2003, Plaintiff Express Homebuyers used the phrase “we buy houses” to

describe the services that it provides. Between 2003 and 2016, Plaintiff did not receive any

complaints from any company or individual that Plaintiff’s use of the phrase “we buy houses” was




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inappropriate or otherwise consisted of infringement on a person’s or company’s intellectual

property.

       18.     Defendant WBH also provides direct home buying services, by referring home

owners in the United States who seek to sell their homes for cash to independent local operators

that are affiliated with WBH. Defendant Brandt is the founder and CEO of WBH and controls its

operations and business.

       19.     WBH is listed as the current owner of U.S. Trademark Registration No. 3,149,336

(“the ’336 Registration”) for the purported trademark WE BUY HOUSES for “real estate

pamphlets, real estate informational flyers, real estate informational sheets, real estate leaflets,

real estate booklets, real estate informational letters, real estate newsletters, printed forms,

printed guides for real estate, printed instruction, educational, and teaching materials for real

estate, printed paper signs, printed reports featuring real estate” in International Class 16.

(Emphasis added.)

       20.     Defendant WBH does not have now, and never has had, federal trademark rights

and the exclusive right to the use of that phrase in connection with online advertising. At all times

relevant herein, Defendants were fully aware of the limited scope of their WE BUY HOUSES

mark. At all times relevant herein, Defendants were fully aware that the phrase “we buy houses”

has always been widely used in print and in online advertising. And, at all times relevant herein,

Defendants were aware that extending the WE BUY HOUSES mark to cover online advertising

was inappropriate and wrong.

       21.     Despite this knowledge, Defendants WBH, at the direction of Defendant Brandt,

caused to take down from YouTube approximately 91 of Plaintiff’s online advertisements that

used the phrase “we buy houses.”




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       22.     WBH is also listed as the current owner of U.S. Trademark Registration No.

3,235,523 (“the ’523 Registration”) for the purported service mark WEBUYHOUSES.COM for

“real estate services, namely, referrals in the field of real estate procurement for others” in

International Class 35 and “real estate and investment services, namely providing on-line

information in the field of real estate procurement for others” in International Class 36.

       23.     This controversy arises out of Defendants improperly seeking to stop Plaintiff, and

others, from using the generic phrase “we buy houses” for home buying and real estate services

by asserting exclusive rights to use its WE BUY HOUSES Marks. The validity and enforcement

of Defendants’ WE BUY HOUSES Marks fall directly at the center of this dispute.

                    Prosecution History of the WE BUY HOUSES Marks

       24.     On July 11, 2001, an individual named Michel Payette (“Payette’) filed an intent-

to-use Application No. 78,073,479 (“the ’479 Application”) with the U.S. Patent and Trademark

Office (“PTO”) for the typeset mark WE BUY HOUSES for various real estate printed materials,

in International Class 16, which covers only printed material or material on paper. On December

10, 2002, the PTO issued a Notice of Allowance, affording Payette six months to file a Statement

of Use to prove actual use of the mark or, in the alternative, to request an extension of time within

which to prove actual use.

       25.     On information and belief, Payette could not prove use of WE BUY HOUSES

because the mark was never used during Payette’s period during which he allegedly owned the

‘479 Application. In a March 2002 letter sent in response to the PTO’s request for more

information, Payette stated that:

       “the goods offered are in the nature of instructional materials, relating to a specific
       method of financing real estate transactions. The instructional materials are to be
       offered in both printed and audio/visual formats. They will be marketed to
       individuals who are interested in building wealth through the creative financing
       methods, which form the foundation for the materials.” (Emphasis added.)


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However, Payette did not attach any of the referenced “instructional materials” to his

correspondence, presumably because they did not exist. Instead, he attached a “fact sheet” or

business outline which simply outlined a few methods and ideas for future business endeavors.

           26.   Payette ultimately filed two Extensions of Time, rather than a Statement of Use,

for the WE BUY HOUSES mark—the first on May 16, 2003 and the second on December 10,

2003.

           27.   In February 2003, while the ’479 Application was still pending, an entity unrelated

to Payette, Webuyhouses.com, Corp., filed Application No. 76,491,672 (“the ’672 Application”)

to register the typeset service mark WEBUYHOUSES.COM for various real estate services, in

International Classes 35 and 36, which generally cover advertising, promotion, and marketing of

services such as investing, appraising, banking or credit unions, and real estate services that delve

into finance (brokerage, listing, escrow, management).

           28.   In an Official Action dated August 14, 2003, the PTO refused registration of the

‘672 Application based on descriptiveness, stating “the proposed mark merely describes the

services.” The PTO also listed several pending applications, including the ‘479 Application, as

the basis for a potential likelihood of confusion refusal, if the proposed marks were to register.

           29.   On February 23, 2004, Webuyhouses.com, Corp. filed its response to the Official

Action and argued, among other things, that its mark is not descriptive and that the ‘479

Application had become abandoned and can no longer be the basis of a likelihood of confusion

refusal.

           30.   On June 29, 2004, the PTO (a) suspended Webuyhouses.com Corp.’s application

pending the disposition of the ‘479 Application (which was not abandoned, as claimed by

Webuyhouses.com, Corp.) and (b) reiterated the descriptiveness refusal.




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The PTO explained:

       Since applicant’s effective filing date is subsequent to the effective filing date of
       the above-identified [’479] application(s), the latter, if and when it registers, may
       be cited against this application. See 37 C.F.R. §2.83.... Applicant’s mark and the
       prior filed mark are legally identical. The addition of .com does not have source
       significance.

Crucially, the PTO further explained:

       [t]he term “we buy houses” is commonly used in the real estate industry to
       describe real estate services. As proof, the examining attorney attaches excerpts
       from www.google.com. Additional evidence is needed to support the claim of
       distinctiveness. The term Applicant’s allegation of six years’ use alone is
       insufficient evidence of distinctiveness in this case because applicant’s mark is
       highly descriptive of the goods and/or services. Applicant must establish acquired
       distinctiveness by a preponderance of the evidence. This evidence may include
       specific dollar sales under the mark, advertising figures, samples of advertising,
       consumer or dealer statements of recognition of the mark, and any other evidence
       that establishes the distinctiveness of the mark as an indicator of source. (Emphasis
       added)

       31.     One month before the PTO issued the above-quoted explanation (May 26, 2004),

WeBuyHouses.com, Corp. had purchased the ’479 Application for the WE BUY HOUSES mark

from Payette for $12,500. A Record of Assignment was filed on June 14, 2004 at the PTO (Reel:

2991, Frame: 0907). This purchase was an attempt on the part of WeBuyHouses.com, Corp. to

overcome the likely refusal of its WEBUYHOUSES.COM mark on the basis of likelihood of

confusion with the ‘479 Application.

       32.     The Assignment reveals a “Sale of Business Assets, Assignment of U.S. Trademark

& Application” agreement (hereinafter, the “Assignment Agreement”) between Payette and

Webuyhouses.com, Corp. which purports to memorialize the sale of the assets of “said business,”

which was described as: “a sole proprietorship business that has adopted, used and is using the

trademark ‘WE BUY HOUSES’ in connection with certain business activities, and has filed

trademark applications…….Serial Nos. 78/073,479 and 78/073, 446 (the latter now abandoned).”

The assets of “said business” include, “only certain of the inventory of printed materials bearing


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said trademark, copies of certain of the records of said business, and all goodwill of the said

business and trademark, ‘WE BUY HOUSES.’ This agreement assigns the ‘479 Application

together with the good will of the business symbolized by the said trademark.”

       33.     The Assignment Agreement also includes a provision that states that “[i]t is

expressly understood that such asset purchase shall not extend to other, discrete sole proprietorship

businesses or divisions of Payette, including but not limited to Payette’s business under the name

and trademark ‘I BUY HOUSES,’ which shall be further defined as an excluded asset.”

       34.     The Assignment Agreement further purports to allow the WE BUY HOUSES mark

to “coexist” with Payette’s “I BUY HOUSES” mark:

       Payette and Assignee agree that the said business and trademark, “WE BUY
       HOUSES,” may co-exist with Payette’s other businesses and trademark, “I BUY
       HOUSES,” as set forth in U.S. Trademark Application Serial No. 78/079,011, due
       to the difference between the marks, the channels of trade, the logo-designs utilized
       by the parties, and the personal nature of the goods and services. In the unlikely
       event that the parties become aware of any instances of actual or potential
       confusion, they shall cooperate to further distinguish themselves by means other
       than modification of their respective trademarks. In the event that either party
       requires the written consent of the other party to facilitate the allowance of a
       trademark application and/or registration for its mark, the other party shall
       cooperate with the requesting party at the requesting party’s expense, including the
       execution of further documents, to accomplish the allowance in accordance with
       the spirit and intent of this agreement. Moreover, neither party shall challenge the
       right of the other party to achieve allowance of any trademark application and/or
       issuance and maintenance of any trademark registration for its mark as
       contemplated herein.

       35.     At the time of the Assignment Agreement, the WE BUY HOUSES mark had never

been used in commerce, and no Statement of Use had ever been filed. In fact, on June 14, 2004,

the date the Record of Assignment was filed with the PTO, Webuyhouses.com, Corp. filed another

Notice of Extension for the WE BUY HOUSES mark. The Assignment Agreement was therefore

improper under Trademark Act § 10(a)(1), rendering the application void ab initio.




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       36.     Nonetheless, Webuyhouses.com, Corp. claimed to have begun using the WE BUY

HOUSES mark in commerce in 2005. On December 2, 2005, Webuyhouses.com, Corp. filed a

Statement of Use for the ’479 Application, alleging a first use at least as early as October 21, 2005.

The ’479 Application was, however, abandoned between January 11, 2006 and March 24, 2006

because the Statement of Use failed to meet the relevant statutory requirements.

       37.     On January 18, 2006, in light of the abandonment of the ’479 Application, the PTO

revoked the suspension of review for the ’672 Application. However, the PTO reiterated its prior

refusal to register the WEBUYHOUSES.COM mark on the basis of descriptiveness under §

2(e)(1):

       The refusal to register applicant’s mark under Trademark Act Section 2(e)(1) is
       maintained. The applicant’s mark is highly descriptive of the applicant’s services.
       The term “we buy houses” is commonly used in the real estate industry to
       describes real estate services. . . . (Emphasis added.)

       Applicant must establish acquired distinctiveness by a preponderance of the
       evidence. Yamaha Int’l Corp. v. Hoshino Gakki Co., 840 F.2d 1572, 6 USPQ2d
       1001 (Fed. Cir. 1988). This evidence may include specific dollar sales under the
       mark, advertising figures, samples of advertising, consumer or dealer statements of
       recognition of the mark, and any other evidence that establishes the distinctiveness
       of the mark as an indicator of source. The Office will decide each case on its own
       merits.

       38.     On July 20, 2006, in an attempt to demonstrate acquired distinctiveness of the

purported WEBUYHOUSES.COM mark, Webuyhouses.com Corp. submitted an 82-page

Amendment to its ’672 Application that included evidence of sales amounts associated with the

website from 2003 forward, as well as samples of advertisements from 2006, several consumer

and dealer statements, and a declaration from the President of Webuyhouses.com, Corp. However,

the evidence that Webuyhouses.com Corp. submitted to the PTO was false and misleading because

it did not accurately reflect or otherwise establish that the phrase “we buy houses” had acquired

distinctiveness and/or that Webuyhouses.com Corp. was the source of those services.



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       39.      On August 17, 2006, following submission of the false and misleading

Amendment, the PTO accepted Webuyhouses.com, Corp.’s false and misleading claim of acquired

distinctiveness under 2(f) and withdrew the refusal to register on the basis of descriptiveness under

Section 2(e)(1).

       40.      The ’479 Application for WE BUY HOUSES matured into U.S. Registration No.

3,149,336 (“the ’336 Registration”) on September 26, 2006.

       41.      Less than a year later, on May 1, 2007, the ’672 Application for

WEBUYHOUSES.COM matured into U.S. Registration No. 3,235,523 (“the ’523 Registration”).

       42.      In November 2012, Webuyhouses.com, Corp. assigned both the ’336 Registration

and the ’523 Registration, along with all associated interest and goodwill, to X5 Ventures, LLC, a

limited liability company owned, operated, and controlled by Defendant Brandt. (Reel: 4918,

Frame: 0217).

       43.      In September 2016, Defendant Brandt filed a nunc pro tunc assignment, conveying

the WE BUY HOUSES Marks to Defendant WBH, with an effective assignment date of September

10, 2013. (Reel: 5881, Frame: 0959). Defendant Brandt is also the founder and CEO of WBH.

                      Fraud on the PTO: WEBUYHOUSES.COM Mark

       44.      During its prosecution of the ’672 Application for the WEBUYHOUSES.COM

mark, Webuyhouses.com, Corp. made numerous fraudulent misrepresentations to the PTO,

rendering the ’523 Registration void ab initio.

       45.      First, in the original ’672 Application, Webuyhouses.com, Corp. represented that

“the [WEBUYHOUSES.COM] trademark was first used anywhere at least as early as November

13, 1997, was first used in interstate commerce at least as early as November 13, 1997, and is now

in use in such commerce” in connection with “real estate and investment services, namely




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providing on-line information and referrals in the field of buying, financing, and selling real

property; on-line advertising and listing services in the field of real estate.” (Emphasis added.)

        46.     This statement, which was made under penalty of perjury, was knowingly and

intentionally false when made, and, furthermore, was made with the express intent to induce the

PTO to register the WEBUYHOUSES.COM mark. In fact, a search of the Internet Archive

demonstrates that “webuyhouses.com” was not used as an active URL until several years later, in

2000:




Internet Archive, https://web.archive.org/web/*/webuyhouses.com (last visited June 22, 2017).

Moreover, the phrase “webuyhouses.com” was used descriptively, and not as a trademark, until

January 2003.

        47.     Second, in response to the Trademark Office’s August 14, 2004 Official Action,

and in order to overcome the descriptiveness refusal, Howard Gordon, the President of

Webuyhouses.com, Corp., claimed that the WEBUYHOUSES.COM trademark had acquired

distinctiveness. In support of such claim, Mr. Gordon filed a declaration, which was made under

penalty of perjury, dated December 10, 2003, stating that “for more than six (6) years the Applicant

has been selling goods and services under the mark “WEBUYHOUSES.COM” in the United




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States” and that “the mark has become distinctive of the goods and services through the

Applicant’s substantially exclusive and continuous use in commerce of the mark for at least the

five (5) years immediately before the date of this statement.”

       48.     This declaration was knowingly and intentionally false. The declaration indicated

that Webuyhouses.com, Corp. had been selling goods and/or services under the

WEBUYHOUSES.COM mark since at least December 10, 1997, and that the mark was used

exclusively and continuously in commerce since at least December 10, 1998. But, as stated above,

webuyhouses.com was not an active URL until 2000, and the phrase “webuyhouses.com” was

used descriptively, and not as a trademark, until January 2003.

       49.     Moreover, Webuyhouses.com Corp.’s use of the mark was not exclusive, as

numerous companies and professionals in the real estate industry used the phrase “we buy houses”

or indistinguishable variations thereof as trademarks and/or to describe their goods or services

prior to and on the date of Mr. Gordon’s declaration. Below is a sampling of U.S. trademark

registrations and applications for marks containing the phrase “we buy houses” or variations

thereof with a claimed first use date prior to December 2003:

          Mark              Application/                 Goods/Services                  Date of First
                          Registration No.                                                   Use
 IBUYHOUSES.COM           Application No.    Class 36: “real estate investment          December 19,
                          85,896,690         services in the nature of purchasing and   1996
                                             selling of real estate for others”
 WE BUY HOUSES            Application No.    Class 35: “franchise services, namely,     July 17, 1998
                          87,373,583         offering business management
                                             assistance in the establishment and
                                             operation of and marketing and
                                             development of franchised businesses
                                             that purchase, finance and sell
                                             residential real estate”

                                             Class 36: “real estate acquisition
                                             services; real estate brokerage; real
                                             estate financing services”




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 WE BUY UGLY              Registration No.   Class 36: “real estate services, namely,   March 1, 2000
 HOUSES                   3,099,814          real estate brokerage, and providing
                                             mortgage, title and home insurance
                                             brokerage services”
 WE BUY UGLY              Registration No.   Class 35: “franchising services, namely,   January 2002
 HOUSES AND MAKE          2,827,136          offering technical assistance in
 THEM NICE AGAIN                             establishing, operating, marketing and
                                             developing franchised businesses that
                                             purchase, finance and sell residential
                                             real estate”
 WE BUY HOUSES            Registration No.   Class 36: “real estate investment          April 30, 2003
 FLORIDA                  5,034,469          services”


       50.     Third, as alleged, Webuyhouses.com, Corp. improperly acquired the intent-to-use

’479 Application for the purpose of overcoming a likelihood of confusion refusal, so that its

WEBUYHOUSES.COM mark could be registered.

       51.     Fourth, in response to the Trademark Office’s 2(e) refusal dated January 18, 2006,

Mr. Gordon submitted an additional declaration, dated June 16, 2006, in which he once again

falsely alleged use of the WEBUYHOUSES.COM mark as early as 1997 or 1998 in yet another

attempt to demonstrate acquired distinctiveness of the purported WEBUYHOUSES.COM mark.

       52.     Fifth, in his final declaration before the ’523 Registration issued, dated October 3,

2006, Mr. Gordon reiterated under penalty of perjury that the WEBUYHOUSES.COM mark was

used continuously and in interstate commerce since as early as November 13, 1997. This was a

knowing and intentional false statement submitted to the PTO.

       53.     For all of the foregoing reasons, because the WEBUYHOUSES.COM Mark was

procured through fraud on the PTO, with an intent to deceive, the mark is void and unenforceable.


                      Failure to Enforce the WE BUY HOUSES Marks

       54.     Even though the Defendants have attempted to enforce their alleged rights in the

phrase “we buy houses,” neither they nor the prior owners have done so consistently. Instead, a

parade of third parties, including those in the direct home buying market and more generally in the


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real estate industry, have used and continue to use the phrase “we buy houses” and close variations

thereof as either a trademark or a generic, affirmative statement of the services offered.

        55.    Below is a sampling of recent U.S. Trademark applications or registrations that

include the phrase “we buy houses” and close variations thereof for goods or services relating to

real estate:

          Mark              Application/                 Goods/Services                   Date of First
                          Registration No.                                                     Use
 WE BUY RAGGEDY           Registration No.   Class 36: “real estate investment for       July 25, 2005
 HOUSES                   3,469,400          commercial and residential properties”
 WE BUY BROKE             Registration No.   Class 36: “arranging of leases and          March 18, 2009
 HOUSES                   4,802,947          rental agreements for real estate;
                                             financial investment in the field of
                                             residential and commercial real estate;
                                             financing of real estate development
                                             projects; mortgage foreclosure
                                             mitigation and loan default mitigation
                                             services, namely, acquisition and lease-
                                             back of real estate”
 WE BUY HOUSES            Application No.    Class 36: “assessment and management        January 1, 2011
 NATIONWIDE               86,614,453         of real estate; commercial and
                                             residential real estate agency services;
                                             evaluation of real property; financial
                                             investment in the field of real estate;
                                             financing of real estate development
                                             projects; providing a database of
                                             information about residential real estate
                                             listings in different neighborhoods and
                                             communities”
 WE BUY HOUSES            Registration No.   Class 36: “commercial and residential       September 1,
 JUST THE WAY THEY        4,568,099          real estate agency services”                2012
 ARE
 WE BUY SAD HOUSES        Registration No.   Class 36: “real estate investment for       June 1, 2014
                          4,602,637          commercial and residential properties”
 WE BUY HOUSES IN A       Application No.    Class 36: “real estate acquisition          June 1, 2016
 JIFFY                    87,240,899         services; real estate brokerage; real
                                             estate financing services”
 WE REALLY DO BUY         Application No.    Class 36: “real estate acquisition          January 1, 2017
 HOUSES                   87,465,190         services”


        56.    As a result of the long term, widespread use of the phrase “we buy houses” by

companies and professionals in the real estate industry, the WE BUY HOUSES Marks do not




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indicate any particular source, are generic, and therefore have been abandoned by Defendant

WBH.


       Infringement Allegations and Removal of Plaintiff’s YouTube Advertisements

       57.    Express Homebuyers, like many other home buying entities—including but not

limited to those mentioned above—has, since 2003, used the generic phrase “we buy houses” in

its advertising. Indeed, “we buy houses” is nothing more an affirmative statement of the very

services offered by Express Homebuyers: buying houses.

       58.    In July 2016, at the direction and instruction of Defendant Brandt, Defendant WBH

filed multiple take-down requests with YouTube, alleging infringement of its WE BUY HOUSES

Marks based on Express Homebuyers’ use of the generic phrase “we buy houses” in 91 of its

online advertisements. Below is a sampling of the 91 Express Homebuyers online advertisements

that were taken down as a result of the Defendants’ wrongful and improper take-down requests:

             We Buy Houses Virginia Beach VA - CALL 888.820.7711 - Sell My House Fast Virginia Beach
              Virginia: http://www.youtube.com/watch?v=yQ4H94woWhs

             We Buy Houses Norfolk VA - CALL 888.820.7711 - Sell My House Fast Norfolk Virginia:
              http://www.youtube.com/watch?v=idqqJot5Avc

             We Buy Houses Alexandria VA - CALL 888.820.7711 - Sell My House Fast Alexandria:
              http://www.youtube.com/watch?v=7vWO0rdrrvc

             We Buy Houses Virginia- CALL 888.820.7711 - Sell Your House Fast Virginia:
              http://www.youtube.com/watch?v=qV0whSirfsU

             We Buy Houses Seven Corners VA - CALL 888.820.7711 - Sell My House Fast Corners
              Virginia: http://www.youtube.com/watch?v=cvw_AuhqEDI

             We Buy Houses Pimmit Hills VA - CALL 888.820.7711 - Sell My House Fast Pimmit Hills
              Virginia: http://www.youtube.com/watch?v=lPW1VpLieCM

             We Buy Houses Falls Church VA - CALL 888.820.7711 - Sell My House Fast Falls Church
              Virginia: http://www.youtube.com/watch?v=KSdXNlND2Oc

             We Buy Houses Great Falls VA - CALL 888.820.7711 - Sell My House Fast Great Falls
              Virginia: http://www.youtube.com/watch?v=3D5ArnM2Kfw

             We Buy Houses Burke VA - CALL 888.820.7711 - Sell My House Fast Burke Virginia:
              http://www.youtube.com/watch?v=XP7Epj9c3M8


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           We Buy Houses Centreville VA - CALL 888.820.7711 - Sell My House Fast Centreville
            Virginia: http://www.youtube.com/watch?v=78LLcVKKJxA

           We Buy Houses McLean VA - CALL 888.820.7711 - Sell My House Fast McLean Virginia:
            http://www.youtube.com/watch?v=dVzOjaXkKmY

           We Buy Houses Woodbridge VA - CALL 888.820.7711 - Sell My House Fast Woodbridge
            Virginia: http://www.youtube.com/watch?v=K5Vm2EE3ZsU

           We Buy Houses Herndon VA - CALL 888-820-7711 - Sell My House Fast Herndon Virginia:
            http://www.youtube.com/watch?v=LcNsAJNcgSs

           We Buy Houses Chantilly VA - CALL 888-820-7711 - Sell My House Fast Chantilly Virginia:
            http://www.youtube.com/watch?v=B9mfBBmNVR8

           We Buy Houses Manassas VA - CALL 888-820-7711 - Sell My House Fast Manassas Virginia:
            http://www.youtube.com/watch?v=L24O9AJFzvg

           We Buy Houses Leesburg VA - CALL 888.820.7711 - Sell My House Fast Leesburg Virginia:
            http://www.youtube.com/watch?v=dTOisfJ46Fk

           Avoid Foreclosure Woodbridge Virginia - We Buy Houses in 7 minutes - Express
            Homebuyers: http://www.youtube.com/watch?v=URmFy_tXqkA

           We Buy Houses Ashburn VA - CALL 888.820.7711 - Sell My House Fast Ashburn Virginia:
            http://www.youtube.com/watch?v=cMbA_B9F_-Y

           We Buy Houses Lorton VA - CALL 888.820.7711 - Sell My House Fast Lorton Virginia:
            http://www.youtube.com/watch?v=9Oj7idRAW2E

           We Buy Houses Richmond VA - CALL 888.820.7711 - Sell My House Fast Richmond Virginia:
            http://www.youtube.com/watch?v=YFcC88qFPRg

           We Buy Houses Fairfax VA - CALL 888.820.7711 - Sell My House Fast Fairfax Virginia:
            http://www.youtube.com/watch?v=v6lPI8mxqrc

           We Buy Houses Arlington VA - CALL 888.820.7711 - Sell My House Fast Arlington Virginia:
            http://www.youtube.com/watch?v=KBT-TStFbV4

           We Buy Houses Springfield VA - CALL 888.820.7711 - Sell My House Fast Springfield
            Virginia: http://www.youtube.com/watch?v=gw9VV3--jJw

           We Buy Houses Fredericksburg VA - CALL 888-820-7711- Sell My House Fast
            Fredericksburg: http://www.youtube.com/watch?v=U-n0BW5X_po

           We Buy Houses Reston VA - Call 888.820.7711 - Sell My House Fast Reston Virginia:
            http://www.youtube.com/watch?v=ClFyBWOfnS0

           We Buy Houses Vienna VA - CALL 888.820.7711 - Sell My House Fast Vienna Virginia:
            http://www.youtube.com/watch?v=LXos6SwVsq4

           We Buy Houses Stafford VA - CALL 888.820.7711 - Sell My House Fast Stafford Virginia:
            http://www.youtube.com/watch?v=d4WfweAmEA0




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              We Buy Houses Annandale VA - CALL 888-820-7711 - Sell My House Fast Annandale
               Virginia: http://www.youtube.com/watch?v=Ddb9q79zsuk

              We Buy Houses Sterling VA - CALL 888.820.7711 - Sell My House Fast Sterling Virginia:
               http://www.youtube.com/watch?v=eCLdZWah7Fk

       59.     In response to Defendant WBH’s complaints of infringement, YouTube removed

all 91 videos from the website. On information and belief, YouTube determined that Plaintiff

Express Homebuyers’ descriptive use of the phrase “we buy houses” was an infringing use

simply by virtue of Defendant WBH’s registrations of the WE BUY HOUSES Marks. After the

Defendants’ wrongful actions, YouTube viewers receive the following message when attempting

to watch Express Homebuyers’ advertising videos:




YouTube.com, https://www.youtube.com/watch?v=DL2gm-42Spw (last visited June 23, 2017).

       60.     As a result of its online advertisements being taken down at the direction of

Defendants, Plaintiff Express Homebuyers’ business has suffered losses, including, but not limited

to: damage to Plaintiff’s brand, lost business, interruptions to its advertising campaign, and the

lost costs of the advertisements themselves.




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          61.   On May 17, 2017, Plaintiff Express Homebuyers filed Cancellation Proceeding No.

92,066,159 with the PTO for the WE BUY HOUSES mark on the basis of genericness. That action

will be stayed pending the outcome of this litigation.

                                      CLAIMS FOR RELIEF

                                        COUNT ONE
                   Declaratory Judgment as to the WE BUY HOUSES Mark
                                  (Against Defendant WBH)

          62.   Plaintiff incorporates Paragraphs 1 through 61 of this Complaint as if fully set forth

herein.

          63.   The question of whether Plaintiff Express Homebuyers infringed on Defendant

WBH’s purported trademark of the phrase “we buy houses” when it advertised its services in 91

online videos is real, substantial, and continues to affect the rights and business of Plaintiff.

          64.   An actual controversy exists between Defendant WBH and Plaintiff over Plaintiff’s

alleged infringement of the mark WE BUY HOUSES when Plaintiff advertised its services on

YouTube.

          65.   Defendant WBH’s purported WE BUY HOUSES mark is an informational

statement of the exact goods covered in the ’336 Registration, namely “real estate pamphlets, real

estate informational flyers, real estate informational sheets, real estate leaflets, real estate

booklets, real estate informational letters, real estate newsletters, printed forms, printed guides

for real estate, printed instruction, educational, and teaching materials for real estate, printed paper

signs, printed reports featuring real estate.”

          66.   The phrase “we buy houses” is now, and has always been, understood by the real

estate industry and the consuming public as a generic phrase referring to direct home buying

transactions and/or direct home buying companies in general. As such, the phrase “we buy houses”

is not understood by the consuming public to refer to Defendant WBH.


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       67.     As discussed above, the phrase “we buy houses” and close variations thereof have

been used by numerous third parties for nearly two decades for informational purposes and/or to

generically refer to real estate industry services and transactions. Neither Defendants nor any of

the previous owners of the WE BUY HOUSES mark have consistently enforced their purported

trademark rights in the mark, resulting in widespread and continuing use by competitors and real

estate professionals.

       68.     WE BUY HOUSES is not capable of distinguishing Defendants’ goods or services

pursuant to 15 U.S.C. § 1052 because it is a generic term for direct home buying transactions

and/or direct home buying companies in general and because the invalid mark has been abandoned.

       69.     Defendants’ ownership and enforcement of a generic mark damages and interferes

with Plaintiff Express Homebuyers’ and other third parties’ rights to make legitimate use of the

phrase “we buy houses” and close variations thereof in connection with the real estate industry.

       70.     Accordingly, by reason of the foregoing, Plaintiff Express Homebuyers is entitled

to a declaration that the ’336 Registration should be cancelled on the bases of fraud, genericness,

and/or abandonment under Trademark Act § 14(3).

       71.     Moreover, the Assignment of the intent-to-use ’479 Application from Payette to

WeBuyHouses.com (Reel: 2991, Frame: 0907) was obtained in violation of the Anti-Assignment

provision of the Trademark Act § 10(a)(1) because the WE BUY HOUSES mark was not in use

prior to or on the date of the assignment.

       72.     Accordingly, Plaintiff Express Homebuyers is entitled to a declaration that: (a) the

’336 Registration is void ab initio and all subsequent assignments of the ’336 Registration—

specifically, those between WeBuyHouses.com and X5 Ventures, and X5 Ventures and WBH—

are null and void as well; (b) the ’336 Registration is cancelled on the basis of violation of the




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Anti-Assignment provision of the Trademark Act § 10(a)(1), and (c) that it did not infringe on

Defendant WBH’s mark WE BUY HOUSES.

                                      COUNT TWO
                Declaratory Judgment as to the WEBUYHOUSES.COM Mark
                                (Against Defendant WBH)

          73.   Plaintiff incorporates Paragraphs 1 through 72 of this Complaint as if fully set forth

herein.

          74.   Like    the    purported     WE        BUY    HOUSES        mark,     the    purported

WEBUYHOUSES.COM mark is an informational statement of the exact services in the ’523

Registration, namely “real estate services, namely, referrals in the field of real estate procurement

for others” and “real estate and investment services, namely providing on-line information in the

field of real estate procurement for others.”

          75.   Plaintiff Express Homebuyers never referred to or otherwise used the phrase

WEBUYHOUSES.COM in any one of the 91 online advertisements that Defendants wrongfully

caused to be removed from YouTube.

          76.   The question of whether Plaintiff Express Homebuyers infringed on Defendant

WBH’s purported trademark of WEBUYHOUSES.COM when it advertised its services in 91

online videos is real, substantial, and continues to affect the rights and business of Plaintiff.

          77.   An actual controversy exists between Defendant WBH and Plaintiff over Plaintiff’s

alleged infringement of the mark WEBUYHOUSES.COM when Plaintiff advertised its services

on YouTube.

          78.   The phrase “we buy houses” is now, and has always been, understood by the real

estate industry and the consuming public as a generic phrase referring to direct home buying

transactions and/or direct home buying companies in general. As such, the phrase “we buy houses”

is not understood by the consuming public to refer to Defendant WBH.


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          79.   Adding .COM to the generic phrase “we buy houses” does not magically transform

the generic phrase into a distinctive one. WEBUYHOUSES.COM is indistinguishable, and

therefore essentially conveys the same meaning as just “we buy houses.”

          80.   Neither Defendants nor any previous owners of the WEBUYHOUSES.COM Mark

have consistently enforced their trademark rights in the purported mark, resulting in widespread

and continuing use by competitors and customers and resulting in abandonment of any purported

rights.

          81.   WEBUYHOUSES.COM is not capable of distinguishing Defendants’ goods or

services pursuant to 15 U.S.C. § 1052 because it is a generic term for direct home buying

transactions and/or direct home buying companies in general and because the mark has been

abandoned due to failure to enforce, resulting in widespread third-party use.

          82.   Defendants’ claims to ownership of a generic mark damages and interferes with

Plaintiff Express Homebuyers’ and other third parties’ rights to make legitimate use of the generic

phrase “we buy houses” and close variations thereof in connection with buying houses.

          83.   Accordingly, Plaintiff is entitled to a declaration that the ’523 Registration should

be cancelled on the basis of genericness and abandonment under Trademark Act § 14(3).

          84.   Moreover, the multitude of false statements described above concerning, among

other things, WEBUYHOUSES.COM’s claimed first use and claimed continuous and exclusive

use for more than five years before the Application’s filing date, were knowingly and intentionally

false and made with the intent to deceive the PTO for the purpose of obtaining trademark rights to

which Webuyhouses.com, Corp., and now, Defendants, are not entitled.




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          85.   These false, material misrepresentations caused the PTO to allow the registration

of the ’523 Registration. Accordingly, Plaintiff Express Homebuyers is entitled to a declaration

that the ’523 Registration was fraudulently obtained and should be cancelled.

          86.   Finally, based on the foregoing, Plaintiff Express Homebuyers is entitled to a

declaration that it did not infringe on Defendant WBH’s mark WEBUYHOUSES.COM.

                                       COUNT THREE
                       (Tortious Interference with Business Expectancy)
                                   (Against All Defendants)

          87.   Plaintiff incorporates Paragraphs 1 through 86 of this Complaint as if fully set forth

herein.

          88.   Plaintiff created its online advertisements using the phrase “we buy houses” with

the expectation that those advertisements would lead to increased business and revenues.

          89.   Plaintiff’s business/revenue expectation with respect to the use of “we buy houses”

in its online advertising was valid because Plaintiff had been using the phrase on its website since

2004 and because Defendant WBH does not have, and never has had, enforceable federal

trademark rights in the generic, ubiquitous phrase “we buy houses.”

          90.   Defendants at all times relevant herein were fully aware of Plaintiff’s expectations

with respect to its use of “we buy houses” in its YouTube advertising.

          91.   Despite this knowledge, Defendant WBH intentionally interfered with Plaintiff’s

business/revenue expectancy by causing YouTube to take down 91 of Plaintiff’s online

advertisements that used the phrase “we buy houses.”

          92.   Defendant Brandt personally participated and directed Defendant WBH to take

down 91of Plaintiff’s online advertisements that used the phrase “we buy houses.”

          93.   As a proximate result of Defendants’ actions, Plaintiff Express Homebuyers has

been damaged in an amount to be proven at trial.


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       94.     At all times relevant herein, Defendants were aware, from their knowledge of

existing circumstances and conditions, that their conduct in taking down 91 of Plaintiff’s online

advertisements would cause injury to Plaintiff.

       95.     Defendants actions in taking down Plaintiff’s online advertisements were taken in

disregard of Plaintiff Express Homebuyer’s rights, entitling Plaintiff to punitive damages in an

amount to be proven at trial.

       96.     Defendants actions in taking down Plaintiff’s online advertisements were taken

with reckless indifference to the consequences of their actions, entitling Plaintiff Express

Homebuyers to punitive damages in an amount to be proven at trial.




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                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Express Homebuyers prays as follows:

       1.      Judgment against Defendant WBH on Counts 1-3 and against Defendant Brandt

on Count 3;

       2.      Judgment against Defendant WBH declaring that (a) the ’336 Registration is

canceled; (b) the ‘523 Registration is canceled; (c) Defendant WBH’s purported WE BUY

HOUSES and WEBUYHOUSES.COM marks are invalid and unenforceable; (d) Plaintiff Express

Homebuyers has not infringed either purported mark; and, (e) Plaintiff Express Homebuyers is

free to use either purported mark in its business;

       3.      Judgment against Defendants for Plaintiff Express Homebuyers’ reasonable

attorneys’ fees and costs under 15 U.S.C. § 1117(a) as an exceptional case;

       4.      Judgment against Defendant for punitive damages and other monetary damages;

       5.      Judgment against Defendants for prejudgment interest and post-judgment interest;

and

       6.      Judgment against Defendants for all other and further relief, both at law and in

equity, to which Plaintiff Express Homebuyers may show itself to be justly entitled.




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                               DEMAND FOR A JURY TRIAL

       Plaintiff Express Homebuyers demands a jury trial on all issues so triable.

 Dated: June 28, 2017                             Respectfully submitted,

                                                  /s/ Joseph J. Aronica____________
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